      Case 1:21-cr-20218-AHS Document 13 Entered on FLSD Docket 04/14/2021 Page 1 of 1

                                           M IN UTE O RDER                                        Page4
                                  M agistrate Judge Lauren F.Louis
                  AtkinsBuildingcourthouse-11thFloor                      Date:4/13/2021 Time:1:30p.m.
Defendant: ZIDOUGLASGAZM URIPEREZ J#:39552-509             Case#: 21-CR-20218-SlNGHAL
AUSA: Sean M cLaughlin                           Attorney:DennisGonzalez,1r,(Temp)
violation: CONSPIRACYTOPOSSESSWITHINTENTTODISTRIBUTE Surr/ArrestDate:4/13/2021 YOB:2000
           M ETHAM PHETAM INE

Proceeding: InitialAppearance                                 CJA Appt:
Bond/PTD Held:L Yes L No                  Recommended Bond:
Bond Setat;                                                      Co-signed by:

 F-
 f-rlsurrenderand/ordonotobtainpassports/traveldocs                    Language:     Spanish

 c ReporttoPTSasdirected/or        x'saweek/monthby                    Disposition:
   phone:      x'saweek/monthinperson                                   oefendantconsentedto a earvia
       Random urine testing by Pretrial
 1- S                                                                  video
        ervices
       Treatm entasdeem ed necessary
 1- Refrain from excessive use ofalcohol                                Defendantadvised ofrightsand
 j- Participate in mentalhealth assessm ent& treatment                  charges
 1-7 Maintainorseekfull-timeemployment/education
 1- No contactwithvictims/witnesses,exceptthroughcounsel                lndictm entUnsealed
 )'
  -' No firearm s
 Nr Nottoencumberproperty                                               GOVtrecPTDbasedonrisk/flight&
 j
 - M ay notvisittransportation establishm ents                          danger/comm unity
 T Homeconfinement/ElectronicMonitoringand/or
       curfew            pm to             am,paid by                   *Brady w arning given*
       Allow ances:M edicalneeds,courtappearances,attorney visits,
 17
       religious,em ploym ent
 17 Travelextendedto:                                                   Timefrom todayto         excluded
 V Other:                                                               from SpeedyTrialClock
NEXT COURT APPEARANCE     Date:             Tim e:      Judge:                        Place:
ReportaEcounsel:              4/27/21       10:00 a.m .               Duty/M iami
prD Heuring:                4/15/21      10:00a.m .                  Duty/M fam/
Arraignment:                     4/27/21      10:00a.m.              Duty/M ium i
Status Conference RE:
D.A.R. 15:03:25                                                  Tim e in Court: 15 m ins
                                   s/l-auren F.Louis                                MagistrateJudge
